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                    UNITED STATES DISTRICT COURT
                                            for the
                              Western District of Oklahoma

          Request for Modifying the Conditions or Term of Supervision
                         with Consent of the Offender
                Probation Form 49, Waiver of Hearing is Attached

Name of Offender: D’Angelo Tyree McCorvey                    Case Number: CR-08-00062-001-D

Name of Judicial Officer: The Honorable Timothy D. DeGiusti (case was transferred from the
Honorable Vicki Miles-LaGrange).

Date of Original Sentence: September 10, 2008

Original Offense: Count Possession of Cocaine Base (crack) with Intent to Distribute; 21 U.S.C. §
841(a)(l)

Original Sentence: 151 months custody, and 48 months supervised release

Type of Supervision: Supervised Release         Date Supervision Commenced: March 1, 2019

Previous Court Action: None

                              PETITIONING THE COURT

[ X] To modify the conditions of supervision as follows:

The defendant must submit to a search of his/her person, property, electronic devices or any
automobile under his/her control to be conducted in a reasonable manner and at a
reasonable time, for the purpose of determining possession, or evidence of possession, of
firearms, controlled substances, drug paraphernalia, drug use or drug trafficking activities
at the direction of the probation officer upon reasonable suspicion. Further, the defendant
must inform any residents that the premises may be subject to a search.


                                      JUSTIFICATION
On September 10, 2008, Mr. McCorvey was sentenced in the Western District of Oklahoma. There
is no indication of non-compliance in this case. Based on the nature of his offense, this
modification is requested for the intent of adding the search condition currently used in this
district.

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Prob 12B (10/99)                                                        D’Angelo Tyree McCorvey
                                                                        CR-08-00062-001-D




Respectfully submitted by,                        Reviewed by,


Mark DeMercurio                                   Loraine M. Liggins
U.S. Probation Officer                            Supervisory U.S. Probation Officer

Date: April 9, 2019                               Date: April 9, 2019


THE COURT ORDERS:

[ ]      No Action
[ ]      The Extension of Supervision as Noted Above
[X]      The Modification of Conditions as Noted Above
[ ]      Other


 April 10, 2019
Date




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PROB 49

                       Waiver of llearing to Modify Conditions
           of Probation/Supervised Release or Extend Term of Supervision

                         UNTTED STATES DISTRICT COURT
                                           FOR THE
                        WESTERN DTSTRICT OF OKLAHOMA


        I, D'Angelo Tyree McCorvey, have been advised and understand that I am entitled by law
to a hearing and assistance of counsel before any unfavorable change may be made in my
Conditions of Probation or Supervised Release or my period of supervision being extended. By
'assistance of counsel', I understand that I have the right to be represented at the hearing
                                                                                                by
counsel of my own choosing if I am able to retain counsel. I also understand that I have the right
to request the court to appoint counsel to represent me at such a hearing at no cost to myself if I
am not able to retain counsel of my own choosing.

       I, D'Angelo Tyree McCovery, hereby voluntarily waive my statutory right to a hearing
and to assistance of counsel. I also agree to the following modification of my Conditions of
Probation or Supervised Release or to the proposed extension of my term of supervision:

The defendant must submit to a search of his/her person, property, electronic devices or
any automobile under his/her control to be conducted in a reasonable manner and at a
reasonable time, for the purpose of determining possession, or evidence of possession of
firearms, controlled substances, drug paraphernalia, drug use or drug trafficking activities
at the direction of the probation officer upon reasonable suspicion. Further, the defendant
must inform any residenfithat the premises may be subject to a search.

Witness:                                             Signed;
            Mark DeMercurio
            U. S. Probation Officer                            Probationer or Supervised Releasee


                3-q -t7
                 Date
